Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 1 of 10 PageID:
                                   4231


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,
                                            No. 25-cv-01963 (MEF)(MAH)
             Petitioner,
                                                 OPINION and ORDER
       v.

  DONALD TRUMP et al.,


             Respondents.



                               *     *      *

 For the purposes of this brief Opinion and Order, the Court
 assumes familiarity with the facts and procedural history of
 this case.

                               *     *      *

 On June 11, the Court preliminarily enjoined the Respondents
 “from seeking to remove the Petitioner from the United States
 based on the Secretary of State’s determination.” Khalil v.
 Trump, 2025 WL 1649197, at *6 (D.N.J. June 11, 2025).

 The Petitioner sought clarification as to how the June 11
 preliminary injunction applies in certain particular
 circumstances. See Petitioner’s Letter (July 1, 2025) (ECF
 332).

 As to that question, the parties filed letter briefs, see
 Petitioner’s Letter (July 11, 2025) (ECF 347), Respondents’
 Letter (July 15, 2025) (ECF 349), the Court issued an Opinion
 and Order, see ECF 350, and the parties filed supplemental
 materials. See Petitioner’s Brief (July 17, 2025) (ECF 352);
 Respondents’ Brief (July 17, 2025) (ECF 353); Petitioner’s Reply
 Brief (July 17, 2025) (ECF 354).

 The Court writes briefly here to clarify in three ways the
 meaning of its June 11 preliminary injunction.
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 2 of 10 PageID:
                                   4232


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 First.

 Under the June 11 preliminary injunction, the Respondents must
 cause the immigration judge to promptly vacate or amend her June
 20 decision to the extent it finds the Petitioner removable from
 the United States on the 8 U.S.C. § 1227(a)(4)(C) charge, which
 charge rests on the Secretary of State’s determination.

 The reason for this is straightforward.

 In accord with the June 11 preliminary injunction, the June 20
 decision simply should not have included any finding that the
 Petitioner can be removed from the United States on the Section
 1227 charge.

 At bottom, the core purpose of such a finding is to advance the
 process of removing the Petitioner from the United States on the
 referenced charge.

 And there is no meaningful real-world difference between that
 and what the June 11 preliminary injunction explicitly forbade.
 See Khalil, 2025 WL 1649197, at *6 (“Respondents are
 preliminarily enjoined from seeking to remove the Petitioner
 from the United States based on the Secretary of State’s
 determination.”).

 In short: issuance of the Section 1227 finding was directly
 inconsistent with the June 11 preliminary injunction. 1


 1  In recent weeks, the Respondents have apparently contended
 that the Court’s June 11 preliminary injunction was forward-
 looking only, and that it therefore does not require any
 backward-looking undoing of actions already taken. See
 Respondents’ Letter (July 15, 2025) at 3. The Respondents do
 not seem to make that argument now. See Respondents’ Brief
 (July 17, 2025). But one way or another, the argument misses
 the mark. The June 20 immigration court finding came down after
 this Court’s June 11 preliminary injunction. It should not have
 been made. The Court, today, needs to take a backward-looking
 action --- to reach back and compel the June 20 decision to be
 vacated or amended --- because the June 11 preliminary
 injunction was not properly complied with. That has nothing to
 do with whether the June 11 preliminary injunction did or did
 not include a backward-looking aspect; as of June 11, the June


                                     2
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 3 of 10 PageID:
                                   4233


 And the underlying equities here, see ECF 350 at 3-4, make clear
 that the June 11 preliminary injunction should be interpreted
 and applied as written.

 The Petitioner has filed a declaration that sets out harms he
 continues to face because of the Secretary of State’s
 determination and the Respondents’ efforts to remove him on that
 basis --- even after this Court’s June 11 preliminary
 injunction. See Declaration of Mahmoud Khalil (July 16, 2025)
 (ECF 352-2) ¶¶ 3–9, 12.

 The Respondents have not contested the Petitioner’s declaration.
 And the immigration judge, before whom the Petitioner testified
 in person, described him as “credible.” In the Matter of
 Mahmoud Khalil (June 20, 2025) (ECF 333) at 17.

 Against this backdrop, the Court generally credits the
 Petitioner’s declaration and finds as a factual matter that the
 continued post–June 11 efforts to remove him from the United
 States on the Section 1227 charge are causing various types of
 harm. Reputational harm. See Declaration of Mahmoud Khalil
 ¶¶ 3, 7. Professional harm. See id. And the chilling of
 speech. See id. ¶¶ 5–6.

 These can count as irreparable injury, see Khalil, 2025 WL
 1649197, at *2–5, and the Court finds as a factual matter that
 they do here.

 Moreover, the Petitioner persuasively argues that if the
 Section 1227 finding remains in the immigration judge’s June 20
 decision, the Board of Immigration Appeals would simply have no
 choice under existing case law but to affirm it. See Khalil v.
 Joyce, 2025 WL 1232369, at *41–42 (D.N.J. Apr. 29, 2025);
 Petitioner’s Brief (July 17, 2025) at 4 (citing declarations).

 And once the Board decides the Petitioner’s appeal, he will be
 subject to a final order of removal, losing his status as a
 lawful permanent resident and therefore his ability to work.
 See Petitioner’s Brief (July 17, 2025) at 4 (citing
 declarations). The Respondents have disputed none of this, and
 the Court credits it.



 20 decision had of course not yet been issued. Even if the June
 11 preliminary injunction had only prospective effect, the June
 20 decision should not have included the Section 1227 removal
 finding.
                                     3
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 4 of 10 PageID:
                                   4234


 Bottom line: the June 20 decision must be vacated or amended, to
 the extent stated above.

                               *     *      *

 Second.

 Under the June 11 preliminary injunction, the Respondents do not
 need to cause the immigration judge to revisit the determination
 she made in the June 20 decision as to the Petitioner’s
 eligibility for asylum under 8 U.S.C. § 1158.

 The immigration judge conducted an extensive and close written
 analysis of the asylum issue, spanning six single-spaced pages
 and based on live testimony. See In the Matter of Mahmoud
 Khalil at 14–16, 21-26.

 In light of this, the immigration judge concluded that the
 Petitioner is not eligible for asylum --- for reasons that she
 explicitly stated are not based on the Secretary of State’s
 determination. See id. at 21.

 That conclusion is independent of the Secretary of State’s
 determination. Therefore, it is not at odds with the Court’s
 June 11 preliminary injunction, which ordered relief only as to
 the determination.2


 2  The Petitioner takes a different view. He notes that asylum
 was also denied by the immigration judge on another ground, the
 Secretary’s determination. See Petitioner’s Letter (July 11,
 2025) at 1, 3 (citing In the Matter of Mahmoud Khalil at 20-21).
 And the Petitioner argues that if that other ground is left in
 place, then the Board of Immigration Appeals might affirm the
 June 20 decision on that ground --- and ignore the immigration
 judge’s independent, factual asylum analysis. See Petitioner’s
 Letter (July 11, 2025) at 3. If the Board of Immigration
 Appeals opts to one day go down that road, the Petitioner can
 then seek relief from this Court. But the Board of Immigration
 Appeals deserves this Court’s respect. And this Court will not
 proceed on the assumption that the Board will at some point take
 a step that would (a) be in some tension with this Court’s June
 11 preliminary injunction and (b) not engage with the extensive
 and independent asylum analysis undertaken by the immigration
 judge. More generally, the Respondents are right to note that
 federal immigration law aims to preserve a wide swath of
 Executive Branch discretion and autonomy. See Respondents’


                                     4
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 5 of 10 PageID:
                                   4235


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 Third.

 Under the June 11 preliminary injunction, the Respondents must
 cause the immigration judge to consider in an appropriately full
 and thorough manner, and then determine: (i) whether the
 Petitioner should be granted a waiver of removability, see 8
 U.S.C. § 1227(a)(1)(H), in connection with the charge lodged
 against him as to his alleged failure to accurately complete his
 lawful permanent resident application (“LPR Charge”), and (ii)
 whether the Petitioner should be afforded an evidentiary hearing
 in connection with the immigration judge’s assessment of his
 waiver-of-removability arguments.

 The Respondents must ensure that, in doing the things set out in
 the preceding paragraph, the immigration judge gives no
 consideration to the Secretary of State’s determination that the
 Petitioner is removable from the United States under 8 U.S.C.
 § 1227(a)(4)(C).

 The basis for the above is again straightforward.

 The June 11 preliminary injunction prohibited removal of the
 Petitioner from the United States “based on the Secretary of
 State’s determination.”

 As the Court has noted, the June 11 preliminary injunction “is
 not qualified.” ECF 350 at 2. “It covers all efforts,”
 including “[t]hose that as a practical matter meaningfully rely
 on the Secretary’s determination.” Id.

 The Court finds as a factual matter that the Respondents’
 efforts to remove the Petitioner from the United States on the
 LPR Charge “meaningfully rely on the Secretary’s determination.”




 Brief (July 17, 2025) at 3. And the Respondents are also right
 to note that district courts such as this do not have appellate
 jurisdiction over the Executive’s immigration tribunals. See
 Respondents’ Letter (July 15, 2025) at 1-3. All of that weighs
 against this Court becoming more involved in the functioning of
 the immigration courts than is strictly necessary --- and
 against requiring that the asylum part of the June 20 decision
 now be undone, based on a speculation as to how the Board of
 Immigration Appeals might one day proceed.
                                     5
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 6 of 10 PageID:
                                   4236


 The Petitioner has filed multiple factual declarations on this
 point.3 Each is based on extensive experience, 4 and none has
 been contested by the Respondents. The Court generally credits
 these declarations.

 As a factual matter, the declarations establish the following:

        As to the LPR Charge, Section 1227(a)(1)(H) permits a
         waiver of removability for someone who “is the spouse [and]
         parent . . . of a citizen of the United States.” See Doyle
         Declaration ¶¶ 19–20; Tolchin Declaration ¶ 6; Kurzban
         Declaration ¶ 15. The Petitioner fits into this category.
         See Declaration of Mahmoud Khalil ¶ 7.

        A request for a Section 1227(a)(1)(H) waiver is typically
         made by requesting an evidentiary hearing before an
         immigration judge. See Doyle Declaration ¶ 23; Tolchin
         Declaration ¶ 8; Kurzban Declaration ¶ 16.

        That request was repeatedly made here, see Declaration of
         Marc Van Der Hout (ECF 352-1) ¶¶ 6, 7–8, but it was denied,
         see id. ¶¶ 9–16, and the immigration judge issued her
         decision on the LPR Charge without assessing the
         Petitioner’s eligibility for a Section 1227(a)(1)(H)
         waiver. See id. ¶ 14; see generally In the Matter of
         Mahmoud Khalil.

        But evidentiary hearings are typically granted to those
         who, like the Petitioner, are statutorily eligible for a
         Section 1227(a)(1)(H) waiver. See Tolchin Declaration ¶ 13
         (“[U]nder normal circumstances, where a noncitizen . . .
         meet[s] the eligibility criteria [of
         Section 1227(a)(1)(H)], and has stated their intention to
         pursue a § 1227(a)(1)(H) waiver, an evidentiary hearing
         must be scheduled[.]”); Kurzban Declaration ¶ 20 (“An

 3  The relevant ones are the declarations of Kerry E. Doyle,
 Stacy Tolchin, and Ira J. Kurzban. See Declaration of Kerry E.
 Doyle (“Doyle Declaration”) (ECF 352-3); Declaration of Stacy
 Tolchin (“Tolchin Declaration”) (ECF 352-4); Declaration of Ira
 J. Kurzban (“Kurzban Declaration”) (ECF 352-5).

 4  See Doyle Declaration ¶¶ 2–4; Tolchin Declaration ¶ 1; Kurzban
 Declaration ¶¶ 1–6; see generally Khalil, 2025 WL 1649197, at *5
 (describing these declarants as having “extensive professional
 experience”).
                                     6
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 7 of 10 PageID:
                                   4237


        Immigration Judge’s refusal to hold an evidentiary hearing
        on a waiver for an individual who is statutorily eligible
        for the waiver is highly unusual and is contrary to the
        normal conduct of immigration court procedure.”).

       This strongly suggests that the Secretary of State’s
        determination is operating as the hurdle that is preventing
        an evidentiary hearing, and therefore the possibility of a
        waiver.

       And that suggestion is buttressed by the way that the
        proceedings have unfolded before the immigration judge.
        See Declaration of Marc Van Der Hout ¶¶ 14–15.

       Not considering a Section 1227(a)(1)(H) waiver on the LPR
        Charge is no academic matter. The Court finds as a factual
        matter that not considering a waiver increases by a
        meaningful margin the likelihood that the Petitioner will
        ultimately be removed from the United States on the LPR
        Charge. The next three bullet points explain why.

       Per Kerry E. Doyle: “In the normal course, as the spouse of
        a U.S. Citizen, and the father of a U.S. citizen child,
        without any criminal history, or other history of
        immigration violations, [the Petitioner] would be an
        excellent candidate for the 1227(a)(1)(H) waiver.” Doyle
        Declaration ¶ 29. And more generally, “most lawful
        permanent residents with a U.S. citizen spouse and/or
        child, who were not otherwise inadmissible at time of
        adjustment to lawful permanent resident status will be
        granted the waiver, particularly for such a minor type of
        alleged fraud.” Id.

       Per Stacey Tolchin: “[I]f the sole charge of removal
        against a noncitizen were under 8 U.S.C. § 1227(a)(1)(A),
        due to what is perceived as fraud and/or misrepresentation
        at the time that they adjusted their status, the likelihood
        of obtaining a waiver under § 1227(a)(1)(H) would be high
        where the noncitizen has close relationships to U.S.
        citizen and/or lawful permanent resident family members and
        they lack any criminal history.” Tolchin Declaration ¶ 15.
        In her judgment, the “Petitioner easily would have [been]
        granted that waiver given his relationship to his U.S.


                                     7
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 8 of 10 PageID:
                                   4238


        citizen wife and minor U.S. citizen son, as well as his
        lack of criminal history.” Id. ¶ 16.

       Per Ira J. Kurzban: “[W]aivers pursuant [to] 8 U.S.C.
        § 1227(a)(1)(H) are regularly granted to LPRs who satisfy
        the statutory requirements for such relief.” Kurzban
        Declaration ¶ 22.

 In short: the Court finds as a factual matter that the Secretary
 of State’s determination is the likely reason that the
 Section 1227(a)(1)(H) waiver has not been ruled on --- and that
 not ruling on the waiver meaningfully raises the odds that the
 Petitioner will be removed from the United States.
 This means that non-consideration of a Section 1227(a)(1)(H)
 waiver on the LPR Charge amounts to what the Court enjoined on
 June 11: “seek[ing] to remove the Petitioner from the United
 States based on the Secretary of State’s determination.”
 Khalil, 2025 WL 1649197, at *6.

                               *     *      *
 A final point.
 Complying with what is set out above may take some time.
 And the Petitioner has persuasively established that he aims to
 appeal from the immigration judge’s June 20 decision and must do
 so shortly --- and that when he does, the immigration judge will
 lose jurisdiction over the case and would, at that point, not be
 able to vacate or amend the June 20 decision or to work through
 the waiver-of-removability issue described above. See
 Petitioner’s Brief (July 17, 2025) at 4 (citing Tolchin
 Declaration ¶ 17); Puc-Ruiz v. Holder, 629 F.3d 771, 782 (8th
 Cir. 2010).
 That would undermine the preliminary injunctive relief ordered
 by the Court on June 11, as clarified today.
 The Court has power to ensure that its injunctive decrees are
 effective as a practical matter. See Nken v. Holder, 556 U.S.
 418, 428 (2009); Swann v. Charlotte-Mecklenburg Bd. of Ed., 402
 U.S. 1, 15–16 (1971); McComb v. Jack. Paper Co., 336 U.S. 187,
 193 (1949).
 Therefore, the Court orders:



                                     8
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 9 of 10 PageID:
                                   4239


 If it appears (as seems overwhelmingly likely) that each of the
 steps set out in this Opinion and Order cannot be appropriately
 and thoughtfully completed before the close of business on July
 18, then the Respondents shall promptly cause the immigration
 judge to take all appropriate steps on July 18 that would be
 required to ensure that she would not be divested of her
 jurisdiction over this case if a notice of appeal from her June
 20 decision were filed by the Petitioner on July 19, July 20, or
 July 21.
 These “appropriate steps” might potentially include the
 immigration judge timely reopening the case and vacating her
 June 20 decision.5


 5  In its filings of July 15 and July 17, the Respondents
 repeatedly suggest that the Court is “expand[ing]” its June 11
 preliminary injunction. See Respondents’ Letter (July 15, 2025)
 at 2; Respondents’ Brief (July 17, 2025) at 3. This is not
 accurate. As the Court’s July 16 Opinion and Order made clear,
 the plain language of the June 11 preliminary injunction
 generally favors the Petitioner’s positions. See ECF 350 at 1-
 2. For example, the language of the June 11 preliminary
 injunction clearly supports vacating or amending the June 20
 decision to eliminate its Section 1227 finding --- because, in
 light of the language of the June 11 preliminary injunction,
 that finding simply should not have been made. But injunctions
 should be interpreted and applied with an eye to the underlying
 equities, and not just to their text. See ECF 350 at 2. And
 Article III courts should avoid involvement in the important
 work of immigration tribunals unless doing so is strictly
 necessary. Given this backdrop, the Court did not simply rest
 on the plain language of the June 11 preliminary injunction.
 Rather, it sought factual evidence before landing on a final
 conclusion. See ECF 350 at 5–6 & 6 n.7. That evidence has now
 been submitted, and it includes uncontested evidence as to
 injuries to the Petitioner that flow from the June 20 finding as
 to Section 1227(a)(4)(C)(i). See Declaration of Mahmoud Khalil
 ¶¶ 4–9. That evidence does not serve as a basis for “expanding”
 the June 11 preliminary injunction. It simply helps to show why
 the equities favor applying the June 11 preliminary injunction
 as it was written. And doing that means that the June 20
 decision must be vacated or amended. As to the immigration
 judge’s non-consideration of a Section 1227(a)(1)(H) waiver, the


                                     9
Case 2:25-cv-01963-MEF-MAH   Document 355   Filed 07/17/25   Page 10 of 10 PageID:
                                    4240




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 IT IS on this 17th day of July, 2025, ,~o 9JU>ERED.


                                         Michael E. Farbiarz, U.S.D.J.




 point is a bit different.   The uncontested factual evidence that
 has now been put before the Court makes clear that, but for the
 Secretary's determination, a waiver application on the LPR
 Charge would normally have been taken up and resolved --- and
 that if it was, that might well favor a person situated like the
 Petitioner. That uncontested factual evidence does not serve as
 a basis for ~expanding" the June 11 preliminary injunction.
 Rather, it shows that the June 11 injunction, as it was written,
 compels consideration of the waiver possibility. After all,
 given the facts here, there is no real-world difference between
  (a) seeking to remove the Petitioner on the LPR Charge, with the
 Secretary's determination operating as the impediment to a
 possible waiver of removal and (b) what the June 11 preliminary
 injunction explicitly forbids --- ~seeking to remove the
 Petitioner from the United States based on the Secretary of
 State's determination."

                                    10
